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U.S. Department of Justice

Justice Management Division

 

Security and Emergency Planning Staff

 

Washington, D.C. 20530

The Honorable Robert M. Dow, Jr.
United States District Court
for the Northern District of Illinois JUN 25 2020
Everett McKinley Dirksen United States Courthouse
219 South Dearborn Street
Chicago, Illinois 60604

RE: United States v. Hardy Lee Browner (20-cr-299)
Dear Judge Dow:

Pursuant to paragraph two of the "REVISED SECURITY PROCEDURES ESTABLISHED
PURSUANT TO PUB. L. 96-456, 94 STAT. 2025, BY THE CHIEF JUSTICE OF THE
UNITED STATES FOR THE PROTECTION OF CLASSIFIED INFORMATION," I
recommend Mr. Daniel O. Hartenstine, Supervisory Security Specialist, for the position of
Classified Information Security Officer in the above-captioned case. I also recommend Security
Specialists Matthew W. Mullery, Maura L. Peterson, Carli V. Rodriguez-Feo, Harry J. Rucker,
and Winfield S. Slade as alternate Classified Information Security Officers. In addition, I certify
that the above-mentioned individuals are cleared for the level and category of classified
information that will be involved in this litigation. Their duties will include responsibilities to
the court for information, physical, personnel, and communications security, as well as any other
pertinent duties as outlined in the above-cited procedures.

If you have any questions please do not hesitate to contact Deputy Director Christine Gunning or

me at (202) 514-2094.

Sincerely,

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James L. Dunlap
Department Security Officer

 
